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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------- X                                   11/2/2021
CATHRYN NICHOLS; SHIVA STEIN;      :
ALEX CICCOTELLI; MATTHEW WALKER;   :
PAUL PARSHALL,                     :
                                   :    21 Civ. 4546 (VM)
                    Plaintiffs,    :
                                   :
     - against -                   :    ORDER
                                   :
PREMIER FINANCIAL BANCORP, INC,    :
et al.,                            :
                                   :
                    Defendants.    :
-----------------------------------X
VICTOR MARRERO, United States District Judge.


     A review of the Docket Sheet for this action indicates that

although the complaint was filed on May 20, 2021, and the case

consolidated on June 7, 2021 with No. 21 Civ. 4642 and No. 221

Civ. 4849 and further consolidated on June 21, 2021 with No. 21

Civ. 5320 and No. 21 Civ. 5304, to date no service of process has

been made on any defendant.       Accordingly, it is hereby

     ORDERED that plaintiff is directed to complete service of

process on defendant(s) by November 12, 2021, or show cause why

such service has not been made to date and cannot be completed by

the date indicated.     In the event no timely response to this

Order is made the Court will dismiss the complaint pursuant to

Rule 4(m) of the Federal Rules of Civil Procedure. SO ORDERED.



Dated:      New York, New York
            November 2, 2021
